 1                                                                                 Honorable Marc L. Barreca
 2                                                                                                 Chapter 7
 3                                                                             Hearing Date: March 18, 2015
 4
                                                                                     Hearing Time: 1:00 p.m.
 5
 6
                                                                    Hearing Place: Kitsap County Courthouse
 7                                                        614 Division St., Courtroom 104, Port Orchard, WA
 8                                                                            Response Date: March 11, 2015
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12
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14
15
                                   UNITED STATES BANKRUPTCY COURT
16                                 WESTERN DISTRICT OF WASHINGTON
17                                           AT SEATTLE
18
19     In re                                                 Case No. 14-10421-MLB
20
21     CASEY R. INGELS,
22
                                        Debtor.
23
24
25
26
27     JOHN S. PETERSON, as Bankruptcy Trustee,              Adversary No. 14-01387-MLB
28
29                                      Plaintiff,
30
31
       vs.                                                   DEFENDANT’S REPLY TO PLAINTIFF’S
32
33
                                                             RESPONSE TO MOTION FOR SUMMARY
34     CASEY R. INGELS,                                      JUDGMENT
35
36                                      Defendant.
37
38
39                  Casey R. Ingels, Defendant/Debtor, by and through counsel, J. Todd Tracy, Jamie J.
40
41
42           McFarlane and The Tracy Law Group PLLC, replies to Plaintiff’s Response to Defendant’s
43
44           Summary Judgment Motion as follows:
45
46
47


        DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE
        TO DEFENDANT’S MOTION FOR SUMMARY
                                                                         720 Olive Way, Suite 1000
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 1             I.      Plaintiff’s Failure to Provide Evidence That There is a Genuine Issue of
 2
 3                                                   Material Fact
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 5
 6
                    Plaintiff cites to In re Willis, 243 B.R. 58, 63 (9th Cir. BAP 1999) for the proposition
 7
 8       that the standard to determine materiality under 727(a)(4)(A), is “if the omission or
 9
10       misstatement detrimentally affects administration of the estate.” In re Willis, 243 B.R. 58 at
11
12       63.
13
14
15
                    In his response, Plaintiff has failed to provide any evidence supporting his
16
17       contention that there are issues of material fact that would preclude the granting of
18
19       Defendant’s Motion for Summary Judgment. Plaintiff has failed to provide any evidence
20
21       showing an issue of material fact as to whether the administration of the bankruptcy estate in
22
23
24
         the underlying case has been detrimentally affected by the alleged misstatements and
25
26       omissions proffered in the Plaintiff’s Complaint. While Plaintiff has failed to show any
27
28       detriment to the administration of the estate, assuming arguendo that estate was detrimentally
29
30       affected by the purported misstatements and omissions, any detriment to the administration
31
32
33
         of the estate is a result of the Trustee’s failure to perform his due diligence, not the Debtor’s
34
35       statements at the 341 Meeting as alleged in Plaintiff’s Complaint.
36
37                  A.     The Defendant Amended his Bankruptcy Schedules and Statement of
38                  Financial Affairs Months Before the Deadline to Object
39
40
                    In addition to the Debtor’s clarifying disclosures regarding the Irrevocable Trust at
41
42
43       the Meeting of Creditors, the Debtor amended his bankruptcy schedules on April 18, 2014,
44
45       well before the deadline to object the Debtor’s discharge passed.
46
47


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 1               Plaintiff’s Response completely ignores the amendments to the Debtor’s Schedules
 2
 3       filed on April 18, 2014, disclosing the MJ Ray Ingels Irrevocable Trust and the Debtor’s
 4
 5
 6
         liability owed to the creditor holding a secured claim against the Dekoven Property owned
 7
 8       by the MJ Ray Ingels Irrevocable Trust. See Declaration of Casey Ingels in Support of
 9
10       Reply. Also, the Debtor amended his Statement of Financial Affairs on May 14, 2014, to
11
12       show his independent contractor income after he first received his 1099 statements for those
13
14
15
         years. See Declaration of Casey Ingels in Support of Reply. The Debtor provided his tax
16
17       returns to the trustee prior to the expiration of the deadline to object under Section 727 as
18
19       well.
20
21               The aforementioned amendments were made in the bankruptcy case prior to the
22
23
24
         deadline to object to the Debtor’s discharge on September 30, 2014. These amendments
25
26       provided the information necessary for the Plaintiff to investigate according to his duties as a
27
28       Chapter 7 Trustee.
29
30               B.      The Plaintiff Received Multiple Extensions of the Deadline to Object
31
32
33
                 In an effort to give the Chapter 7 Trustee additional time to investigate, the Chapter
34
35       7 Trustee received multiple extensions from the Court to object to the Debtor’s receipt of a
36
37       discharge.
38
39               The Chapter 7 Trustee filed his Complaint for Order Denying Discharge on
40
41
42
         September 29, 2014. The original deadline for filing a complaint was May 12, 2014. The
43
44       Trustee sought and the Court granted an extension of this deadline to July 30, 2014, in order
45
46       for the Trustee to do additional investigation of possible claims. On July 30, 2014, the
47
         Trustee sought an additional extension to September 30, 2014, again, on the basis that he
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 1       needed additional time to investigate. The Trustee and Debtor agreed that the deadline
 2
 3       would be extended to September 30, 2014. On the day before the expiration of the twice-
 4
 5
 6
         extended deadline, the Plaintiff filed a three-page bare-bones complaint objecting to the
 7
 8       Debtor’s discharge based on the Debtor’s testimony at the 341 meeting.
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10
11
12               C.     The Trustee Ignores Adequate Information to Investigate the Dekoven
13
                 Property and the Promissory Note.
14
15
16               In his Response, Plaintiff declares under oath that the first time he received notice of
17
18       the Debtor’s liability on the promissory note tied to the Dekoven Property was in a
19
20       declaration provided in the Summary Judgment Motion. In addition to the amendments
21
22
         filed on April 14, 2014 disclosing the Dekoven Property held by the Irrevocable Trust and
23
24
25       the Debtor’s testimony at the 341 Meeting, the Debtor’s counsel in this adversary case
26
27       provided the Plaintiff with a copy of the promissory note on December 12, 2014. See
28
29       Declaration of J. McFarlane in Support of Reply. Plaintiff’s failure to recognize the
30
31
         amendments made to Debtor’s schedules, as well as Plaintiff’s failure to recognize his prior
32
33
34       receipt of the Devoken Property promissory note, at best, indicate a lack of effort on behalf
35
36       of the Trustee.
37
38               D.     The Dekoven Property is Not an Asset of the Estate and There is no Equity
39               Available from the Dekoven Property.
40
41
42
                 Unfortunately for the Trustee, he was assigned a complex Chapter 7 case that is very
43
44       likely to have no assets available for creditors. The real property that is the subject of the
45
46       alleged false oath in Plaintiff’s Complaint, 9830 Dekoven Dr. SW, Lakewood, Washington,
47
         has no equity available for unsecured creditors in Mr. Ingels’ Chapter 7 bankruptcy case.
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 1       The Dekoven Property is estimated to be worth $475,000.00 with secured debt against the
 2
 3       Dekoven Property at the time of the bankruptcy filing in excess of $612,000.00.
 4
 5
 6
                  More importantly, not only is there no equity in the Devoken Property, the
 7
 8       Dekoven Property is not an asset of the bankruptcy estate. The Devoken Property was
 9
10       owned by the MJ Ray Ingels Family Irrevocable Trust that was established in 2009, more
11
12       than four years prior to the Debtor’s bankruptcy filing. Mr. Ingels has never had a beneficial
13
14
15
         interest in the Irrevocable Trust and he has never served as a Trustee of the Irrevocable
16
17       Trust.
18
19                E.     The Debtor had No Duty to Disclose Payments Made by the Debtor on the
20                Promissory Note That Were More Than Two Years Old
21
22
                  Plaintiff claims that the interest-only payments made by the Defendant on the
23
24
25       promissory note in question could potentially create an interest for the Debtor in the
26
27       Dekoven Property. According to the Irrevocable Trust document attached to Ms. Yue’s
28
29       Declaration in Support of Summary Judgment, the Defendant cannot hold a beneficial
30
31
         interest in the Irrevocable Trust and the Defendant has no control of Irrevocable Trust and
32
33
34       has never had control of the Irrevocable Trust. All of the interest-only payments the
35
36       Defendant made on the underlying promissory note prior to the bankruptcy filing were
37
38       made outside of the two year requisite disclosure window under Statement of Financial
39
40
         Affairs #10 regarding transfers. See Declaration of C. Ingels in Support of Reply. The first
41
42
43       and only time the Defendant was asked about the interest-only payments on the promissory
44
45       note came at the one-hour deposition of the Defendant in the adversary case.
46
47


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 1              F.      The Down Payment to Purchase the Dekoven Property was Made for The
 2              Benefit of The Irrevocable Trust and was Made More Than Four Years Prior to the
 3              Bankruptcy Case Filing.
 4
 5
 6
                The down payment provided by the Debtor to purchase the Irrevocable Trust’s
 7
 8       Dekoven Property was made more than four years prior to the bankruptcy filing. See
 9
10       Declaration of Casey Ingels in Support of Reply. The Defendant lost any interest in the
11
12       down payment when the Dekoven Property was transferred from the Note Holders to the
13
14
15
         Irrevocable Trust created for the benefit of Defendant’s young children.
16
17              Plaintiff claims that he could not investigate the potential of a fraudulent transfer due
18
19       to the Debtor’s lack of disclosure. However, any perceived lack of disclosure was remedied
20
21       by the Debtor’s clarifying remarks in the Meeting of Creditors and by the amendments to his
22
23
24
         bankruptcy schedules filed well before the deadline to object to his discharge.
25
26              G.     The Debtor Has No Interest in MJB Consulting, LLC and Testified
27              Truthfully at His 341 Meeting Regarding any Transfer of the Dekoven Property
28
29              Plaintiff’s Complaint makes certain allegations regarding MJB Consulting, LLC,
30
31
         however, Mr. Ingels holds no interest in MJB Consulting, LLC. The Debtor has never held
32
33
34       an interest in MJB Consulting, LLC, and the Debtor has never transferred property to MJB
35
36       Consulting, LLC.
37
38               The Debtor testified truthfully at the Meeting of Creditors that he did not know
39
40
         what LLC the Dekoven Property was transferred to or when the Dekoven Property was
41
42
43       transferred; Debtor was not involved in the transfer of the Dekoven Property cited by the
44
45       Plaintiff. See Declaration of C. Ingels in Support of Reply.
46
47


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 1               H.     The Defendant Has Made Significant Efforts to Ease the Plaintiff’s Burden
 2               Before and After the Filing of the Plaintiff’s Complaint.
 3
 4
                 On more than ten occasions throughout this adverse proceeding, Defendant has
 5
 6
 7       offered to provide the Plaintiff with any documentation or information he needs to satisfy
 8
 9       his inquiry. See Declaration of Jamie McFarlane in Support of Reply. All of these offers to
10
11       ease the burden on the Plaintiff have fallen on deaf ears. The Plaintiff never submitted
12
13
         written discovery requests to the Defendant, and despite the passing of the deadline to serve
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15
16       written discovery on the Defendant, the Defendant still offered to provide any information
17
18       the Plaintiff needed. See Declaration of Jamie McFarlane in Support of Reply.
19
20               Here, this case is ripe for summary judgment. There are no issues of material fact
21
22
         which preclude the granting of summary judgment and the Defendant should not be forced
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24
25       to continue to incur legal fees and costs because the Plaintiff did not review and investigate
26
27       the amendments provided by the Defendant.
28
29               There is no doubt that this is a complex case and it is unfortunate that a Chapter 7
30
31
         trustee is compensated so little to investigate a case like the Debtor’s, but that does not
32
33
34       release a Trustee from his duty to review amendments, review testimony at the 341 Meeting,
35
36       and request information to complete an investigation of a debtor’s case. If the Plaintiff
37
38       would have taken the time to complete his investigation prior to filing his brief complaint, all
39
40
         parties would have been able to avoid the costs of this adversary proceeding.
41
42
43               Further, it is important to note that costs from this adversary proceeding are not part
44
45       of the allegations made in the Plaintiff’s Complaint. As such, any adversary costs incurred
46
47       should not be considered in determining whether any statements at the 341 Meeting

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 1       detrimentally affected administration of the bankruptcy estate for purposes of determining
 2
 3       whether the Debtor should be granted a discharge under the Plaintiff’s 727(a)(4)(A) claim.
 4
 5
 6                                          II.     CONCLUSION
 7
 8               There are no genuine issues of material fact regarding the Plaintiff’s inability to
 9
10       satisfy the materiality element required to deny the Debtor’s discharge under Section
11
12       727(a)(4)(A). The Dekoven Property, owned by the Irrevocable Trust in which Debtor
13
14
15       holds no beneficial interest, was disclosed at the 341 Meeting after clarifying questions were
16
17       asked by the Trustee. The Debtor amended his schedules to disclose the Dekoven Property
18
19       held by the Irrevocable Trust and to disclose the liability on the promissory note in question.
20
21       Both of these amendments were made well before the deadline to object to the Debtor’s
22
23
24       receipt of a discharge.
25
26               In order to ease any burden on the Trustee, the Debtor made significant effort to
27
28       provide the Trustee with information regarding his case before and after the filing of this
29
30       adversary case. Plaintiff has failed to submit any evidence that the bankruptcy estate was
31
32
33       detrimentally affected by the statements made by the Debtor at the 341 Meeting in his
34
35       Response. For these reasons, the Defendant’s Motion for Summary Judgment should be
36
37       granted.
38
39
40
                 DATED this 13th day of March 2015.
41
42                                                       THE
43                                                             TRACY LAW GROUP PLLC
44
45
46                                                       By     /s/ Jamie McFarlane
47                                                              Jamie J. McFarlane, WSBA #41320
                                                         Attorneys for Defendant Casey R. Ingels
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